Case 0:21-cv-62429-WPD Document 1 Entered on FLSD Docket 12/01/2021 Page 1 of 4




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. _______________

 MONARCH AIR GROUP, LLC d/b/a
 MERCURY JETS, a Florida limited
 liability company, and DAVID GITMAN,

        Plaintiffs,

 vs.

 JPMORGAN CHASE BANK, N.A., a foreign
 profit corporation,

       Defendant.
 ________________________________________________/

                                       NOTICE OF REMOVAL

        Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant, JPMorgan Chase Bank, N.A.

 (“JPMC”) hereby gives notice of removal of the above-entitled action, and all claims and causes

 of action therein, currently pending in the Circuit Court of the Seventeenth Judicial Circuit in and

 for Broward County, Florida (the “State Court Action”). JPMC appears for the purposes of

 removal only, reserves all defenses and rights available to it, including as to proper service and

 personal jurisdiction. In support of this Notice of Removal, JPMC states the following:

                                   THE REMOVED ACTION

        1.      The removed case is an action filed on November 1, 2021 in the Seventeenth

 Judicial Circuit in and for Broward County, Florida, captioned Monarch Air Group, LLC d/b/a

 Mercury Jets, a Florida limited liability company, and David Gitman v. JPMorgan Chase Bank,

 N.A., a foreign profit corporation.
Case 0:21-cv-62429-WPD Document 1 Entered on FLSD Docket 12/01/2021 Page 2 of 4




                          PAPERS FROM THE REMOVED ACTION

         2.     Pursuant to 28 U.S.C. § 1446(a), JPMC attaches to this Notice of Removal a copy

 of all process, pleadings, orders, and other papers or exhibits of every kind currently on file in the

 State Court Action. See Composite Exhibit 1 attached hereto.

         3.     Pursuant to 28 U.S.C. § 1446(d), JPMC will file a copy of this Notice of Removal

 with the Clerk of the Circuit Court of the Seventeenth Judicial Circuit in and for Broward County,

 Florida, and will serve a copy of this Notice of Removal on Monarch Air Group, LLC and David

 Gitman (“Plaintiffs”).

                                     REMOVAL IS TIMELY

         4.     Plaintiffs filed this action on November 1, 2021. Without conceding that service

 was properly executed, JPMC was purportedly served with Plaintiffs’ complaint on November 4,

 2021.

         5.     This notice of removal is being filed within 30 days of JPMC’s receipt of Plaintiffs’

 complaint and thus is timely filed under 28 U.S.C. § 1446(b). See, e.g., Murphy Brothers, Inc. v.

 Michetti Pipe Stringing, Inc., 526 U.S. 344, 355-56 (1999) (removal time frame begins upon

 receipt of formal service; not receipt of complaint).

                                        VENUE IS PROPER

         6.     Venue is proper in the Broward Division of this Court because this action is being

 removed from the Seventeenth Judicial Circuit in and for Broward County, Florida, and, according

 to the complaint, the asserted causes of action allegedly accrued in Broward County, Florida.

              DIVERSITY OF CITIZENSHIP EXISTS BETWEEN THE PARTIES

         7.     This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. §

 1332 because the amount in controversy exceeds $75,000, exclusive of interest and costs, and the



                                                   2
Case 0:21-cv-62429-WPD Document 1 Entered on FLSD Docket 12/01/2021 Page 3 of 4




 parties are completely diverse and were completely diverse at the time the Plaintiffs filed the

 complaint.

         8.      Plaintiff Monarch Air Group, LLC is a limited liability company who, on

 information and belief, has a single member, David Gitman. Gitman is an individual domiciled in

 Florida and is thus a citizen of Florida. As a result, Monarch Air Group, LLC is a citizen of Florida.

         9.      Plaintiff David Gitman is an individual domiciled in Florida and is thus a citizen of

 Florida.

         10.     JPMC is a national banking association with its main office, as designated in its

 articles of association, in Ohio. Accordingly, JPMC is a citizen of Ohio.

         11.     The citizenships of each party and the facts set forth in paragraphs 8 through 10

 were the same at the time the Plaintiffs filed the complaint.

              THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

         12.     Plaintiffs do not allege a specific amount in controversy—only that this is an action

 for damages exceeding $30,000. However, a reasonable reading of the complaint reveals that

 Plaintiffs seek damages in excess of $75,000. Specifically, among other things, the complaint

 alleges that the Plaintiffs have suffered “substantial damages” and “have significantly interfered

 with Plaintiffs’ ability to transact business[.]”

         WHEREFORE, Defendant JPMorgan Chase Bank, N.A. respectfully requests, pursuant to

 28 U.S.C. §§ 1332, 1441, and 1446, that this action be removed in its entirety from the Circuit

 Court of the Seventeenth Judicial Circuit in and for Broward County, Florida, to this Court, that

 this Court proceed with the case as if it was originally initiated in this Court, and that this Court

 make and enter such further orders as may be necessary and proper.




                                                     3
Case 0:21-cv-62429-WPD Document 1 Entered on FLSD Docket 12/01/2021 Page 4 of 4




 Dated: December 1, 2021            Respectfully submitted,

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                                       4
